Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 1of55

SCHEDULE “A”

kk DEFINITIONS

The following definitions shall apply to each of the document requests and are deemed to be
incorporated in each of the requests:

1. "Grace Defendants" means W.R. Grace & Company (a Delaware corporation) and
W.R. Grace & Company-Conn. (a Connecticut company) (defined below).

2: "Grace Companies" means the "Grace Defendants," their predecessors, subsidiaries
and affiliates, including, but not limited to, Grace Speciality Chemical, Inc., W.R. Grace & Company
(a New York corporation), Grace Holdings, Inc., the Zonolite Company, and "Cryovac," (defined
below) and any of their directors, officers, agents (including attommeys, accountants, consultants,
investment advisors or bankers), employees, representatives and any other person or entity
purporting to act on their behalf.

3. "Sealed Air" means defendant Sealed Air Corporation, its subsidiaries and affiliated
entities and any of their directors, officers, agents (including attorneys, accountants, consultants,
investment advisors or bankers), employees, representatives and any other person or entity
purporting to act on their behalf.

A. "Grace-Conn." means W.R. Grace & Company - Conn. (a Connecticut company) and
shall include the Grace Companies' specialty chemical business as it existed after the
"reorganization", and any of their directors, officers, agents (including attorneys, accountants,
consultants, investment advisors or bankers), employees, representatives and any other person
purporting to act on their behalf.

5. "Cryovac" means the Grace Companies' packaging business as it existed before the
"merger" (defined below), both when operated as a division of W.R. Grace & Co., a New York
corporation, and subsequently as a subsidiary of W.R. Grace (a Delaware corporation), and its
subsidiaries, affiliates, predecessors and successors and any of their directors, officers, agents
(including attorneys, accountants, consultants, investment advisors or bankers), employees,

representatives and any other person purporting to act on their behalf.
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 2 of 55

6. "Grace Specialty Chemical's 1997 10-K" means Grace Specialty Chemical, Inc.'s
Form 10-K filed with the United States Securities & Exchange Commission for the fiscal year
ending December 31, 1997. (Relevant portions of which are attached as Ex. A.)

a "Grace's 1999 10-K" means W.R. Grace & Co.'s Form 10-K filed with the United
States Securities & Exchange Commission for the fiscal year ending December 31, 1999. (Relevant
portions of which are attached as Ex. B.)

8. "Sealed Air's 1998 10-K" means Sealed Air's Form 10-K filed with the United States
Securities & Exchange Commission for the fiscal year ending December 31, 1998. (Relevant
portions of which are attached as Ex. C.)

9. "Sealed Air's Proxy Statement" means Sealed Air's Joint Proxy Statement/Prospectus,
dated February 1998. (Relevant portions of which are attached as Ex. D.)

10. "Reorganization" means the transaction in which the Grace Companies' specialty
chemical business was “separated from its packaging business, the packaging business was
contributed to one group of wholly owned subsidiaries ("Cryovac") and the specialty chemicals
business was contributed to another group of wholly owned subsidiaries ("Grace-Conn.")," as

defined on page 1 of Sealed Air's 1998 10-K. (Ex. C.)

1l. _ "Recapitalization" refers to the "recapitalization" as defined on page 1 of Sealed Air's

1998 10-K. (Ex. C.)

12. "Merger" refers to the merger between the Grace Companies' packaging business and
Sealed Air as defined on page 1 of Sealed Air's 1998 10-K. (Ex. C.)

13. "Document" or "Documents" shall be interpreted in the broadest possible sense and
includes, without limitation, all written, recorded, printed, typed, transcribed, filmed, digitized, or
graphic matter and all other tangible things and media upon which any handwriting, typing, printing,
drawing, representation, electrostatic or other copy, sound or video recording, magnetic or electrical
impulse, visual reproduction or communication is recorded, reproduced or represented, including
each and any book, record, correspondence, report, memoranda, electronic mail ("e-mail"), voice

mail, contract, table, tabulation, graph, chart, diagram, plan, schedule, appointment book, calendar,
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 3 of 55

diary, time sheet, report, study, analysis, draft, telegram, teletype or telecopy message, file, telephone
log, telephone message, check, microfilm, microfiche, picture, photograph, printout, electronic data
compilation, tape, diskette, drive, removable media, note, minutes or transcript of proceedings,
including, but not limited to, minutes of meetings, or other communications of any type, including
inter-office communications, questionnaires, surveys, charges, newspapers, booklets, circulars, work
papers, bulletins, notices, instructions, resolutions, reports, records, papers, bills or invoices, books
of account, financial statements, working papers, deeds, loan agreements, notes, ledgers, security
agreements, financing statements, tax returns, checks, receipts, journals and data of every description
and shall include each and any original produced or reproduced by any method, all non-identical
copies (whether different from the original because of notes made in or attached to such copy, or
otherwise), all other data compilations from which information can be obtained (translated, if
necessary, into usable form), and any preliminary versions, drafts or revisions of any of the
foregoing.

14. "All Documents" means every document within the custody, possession or control
of you, your national, regional and local offices, and any of your attorneys, representatives, and
employees, whether an original or copy (as defined above), known to you, and every such document
or writing which you can locate or discover through reasonably diligent efforts.

15. "Including" means "including, but not limited to," or "including, without limitation."
Any examples which follow these phrases are set forth to clarify the request, definition or instruction,
not to limit the request, definition or instruction.

16. "And" means and/or.

Li. "Or" means and/or.

18. "Refer," "referring," "discuss," "discussing," "concern," and "concerning" all mean
documents which explicitly or implicitly, in whole or in part, compare, were received in conjunction
with, or were generated as a result of the subject matter of the request, including all documents
which reflect, record, specify, memorialize, relate, describe, consider, concern, constitute, embody,

evaluate, analyze, review, report on, comment on, impinge upon or impact the subject matter of the
Fane ms tun Grr LS ee a

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 4of55

request.

I. REQUESTS FOR PRODUCTION

1. All documents concerning due diligence performed with respect to the reorganization,
recapitalization and merger.

2 All documents relating to the engagement, disengagement, dismissal or change of
independent auditors retained by the Grace Companies in connection with the reorganization,
recapitalization and merger, including documents concerning the purpose or reason for any
changes in the firms auditing the reorganization, recapitalization and merger.

Bs All documentation provided to or received from the Grace Companies’ independent auditors
concerning the reorganization, recapitalization and merger.

4. All reports, letters or forms relating to any audit, consulting or tax engagement with the
Grace Companies' independent auditors concerning the reorganization, recapitalization and
merger.

3, All documents reflecting meetings of the Grace Companies' audit committee or discussions
with members of the Grace Companies' audit committee concerning the reorganization,
recapitalization and merger.

6. All documents relating to presentations and reports given to the Grace Companies' Board of
Directors concerning the reorganization, recapitalization and merger.

Vs All documents sent to or received from consultants concerning the reorganization,
recapitalization and merger.

8. Allreports or analyses generated concerning the reorganization, recapitalization and merger,

whether by the Grace Companies or a third party.

o All documents discussing or concerning the reorganization, recapitalization and merger,
including documents discussing the reasons or purpose of the reorganization, recapitalization
and merger.

10. All documents concerning set monetary limits on transactions that could occur without the

approval of the Grace Defendants' board of directors.
11.

2:

13.

14.

L5.

16.

17.

18.

19,

20.

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 5of55

All documents discussing, analyzing or constituting the indemnification or liability of Sealed
Air for any liabilities of the Grace Companies, including all indemnity agreements.

All documents discussing, supporting or contradicting the following statement on page 10
of Sealed Air's 1998 10-K: "The Company may remain liable with respect to certain of such
liabilities if New Grace fails to fulfill its indemnity obligation to the company." (Ex. C.)
All documents (whether created before, after or during the reorganization, recapitalization
and merger) discussing or analyzing Grace-Conn.'s viability or sufficiency of assets to satisfy
liabilities and/or continue to conduct business after the reorganization.

All documents (whether created before, after or during the reorganization, recapitalization
and merger) discussing or analyzing Grace-Conn.'s viability or sufficiency of assets to satisfy
liabilities and/or continue to conduct business after the reorganization, recapitalization and
merger.

All documents discussing or analyzing the sufficiency of Grace-Conn.'s assets to satisfy
liabilities arising from the mining, manufacturing, fabricating, advertising, marketing,
selling, distributing, transporting or installing of asbestos products.

All documents discussing whether at the time of the reorganization, Grace-Conn. had
sufficient assets to satisfy liabilities arising from the mining, manufacturing, fabricating,
advertising, marketing, selling, distributing, transporting or installing of asbestos products.
All documents supporting, discussing or contradicting the following statement on page 3 of
Grace Specialty Chemical's 1997 10-K: "[a]t the date of this report ... New Grace has no
assets." (Ex. A.)

All documents comparing the value of assets transferred to Grace-Conn. during the
reorganization with the value of assets transferred to Cryovac during the reorganization.
All documents concerning the reorganization, including the reason or purpose for the
reorganization.

All documents comparing the value of assets transferred to Sealed Air from the Grace

Companies as a result of the reorganization, recapitalization and merger with the market
21.

22s

eo:

24,

2D.

26.

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 6 of 55

value of those assets.

All documents comparing the value of assets transferred to Sealed Air from the Grace

Companies with the value of these assets.

All documents concerning, analyzing or discussing the market value of Cryovac at the time

of the reorganization.

All documents constituting, discussing or relating to reports or analyses of the value of
Cryovac's "goodwill."

All documents pertaining to the 1998 loan of $1.2 billion taken out by Sealed Air and
transferred to Grace-Conn., including the documents concerning the reason or purpose for
the loan and transfer.

All documents discussing, relating to or analyzing the "fairness of the consideration" of the
reorganization, recapitalization and merger as analyzed by Donaldson, Lufkin & Jenrette
Securities Corporation and discussed on page 39 of Sealed Air's Proxy Statement. (Ex. D.)
All documents concerning, discussing and used in preparation of Sealed Air's Proxy

Statement, including documents used in preparation of the section titled "Liabilities of New

Grace, Fraudulent Transfer and Related Considerations."
27.

28.

29.

30.

31,

Be

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 7 of 55

All documents discussing or relating to the section on page 40, n.18, of Sealed Air's 1998 10-
K titled "Commitments and Contingencies" and the statement on page 41 of the same
document titled "Contingent Liabilities Indemnified by New Grace." (Ex. C.)

Each insurance policy which, for any time during the period 1963 through 2001, provided
the Grace Companies with insurance coverage, whether primary, excess or reinsurance, for
the Grace Companies' liability arising out of the reorganization, recapitalization and merger
and arising out of the Grace Companies’ mining, manufacturing, fabricating, advertising,
marketing, selling, distributing, transporting or installing of Zonolite or other asbestos
products.

All documents which refer to or evidence the Grace Companies ' risk retention, self-insurance
or co-insurance at any time during the period of 1963 through 2001 for the Grace Companies'
liability arising out of the reorganization, recapitalization and merger or arising out of the
Grace Companies' mining, manufacturing, fabricating, advertising, marketing, selling,
distributing, transporting or installing of Zonolite or other asbestos products.

All documents related to any and all transactions that resulted in termination of coverage for
the Grace Companies' liability arising out of the reorganization, recapitalization and merger
or arising out of the Grace Companies’ mining, manufacturing, fabricating, advertising,
marketing, selling, distributing, transporting or installing of Zonolite or other asbestos
products.

All documents constituting or concerning any indemnity agreements, agreements to assume
liability, agreements to assume the defense or joint defense agreements made by the Grace
Companies, its insurers or any other entities relating to the reorganization, recapitalization
and merger or arising out of the Grace Companies' mining, manufacturing, fabricating,
advertising, marketing, selling, distributing, transporting or installing of Zonolite or other
asbestos products.

All documents upon which the Grace Companies relied in making the statement found on

page F-10 of the Financial Supplement to Grace's 1999 10-K that "Grace has recorded an
oo:

34.

35.

36.

aT.

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 8 of 55

accrual for all existing property damage cases for which sufficient information is available
to from a reasonable estimate of such exposure" including all documents related to the
estimate amount of such exposure. (Ex. B.)

All documents that discuss, concern or relate to the statement made on page F-12 of Grace's
1999 10-K that under certain divestiture agreements, "the Company has retained contingent
obligations that could develop into situations where accruals for estimated costs of defense
or loss would be recorded in a period subsequent to divestiture under generally accepted
accounting principles," including all divestiture agreements. (Ex. B.)

All documents that form the basis for the Grace Companies' opinion, stated on page 10-13
of Grace's 1999 10-K, that it is probable that funds will be available to satisfy the asbestos-
related claims pending and expected to be filed in the future. (Ex. B.)

All documents that form the basis for the statement on page 12 of Grace's 1999 10-K that the
Grace Companies expects recoveries from insurance carriers of $371.4 million to be
available to meet its asbestos-related liability. (Ex. B.)

All documents which refer, relate to or constitute contracts, settlements, releases,
commutations or other agreements with the Grace Companies’ primary or excess insurers
which released any such insurer, in whole or in part, from its obligation or potential
obligation to provide liability insurance coverage to the Grace Companies as identified in
Request No. 28 above.

All documents which refer or relate to or constitute mitigation insurance or liability-sharing
arrangements, including options to purchase such insurance or enter into such sharing
arrangements, which may provide coverage, in whole or in part, for the Grace Companies'
liability arising out of the reorganization, recapitalization or merger or arising out of the
Grace Companies' mining, manufacturing, fabricating, advertising, marketing, selling

distributing, transporting or installing Zonolite or other asbestos products.
‘

In re:

ZONOLITE ATTIC INSULATION
PRODUCTS LIABILITY LITIGATION

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 9 of 55 AB;

Bo
UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS
MDL Docket No. 1376

The Honorable Patti B. Saris,
Presiding

THIS DOCUMENT RELATES TO:

ALL ACTIONS

DEFENDANTS' FIRST SET OF MASTER REQUESTS FOR
PRODUCTION OF DOCUMENTS DIRECTED TO PLAINTIFFS

Pursuant to Federal Rule of Civil Procedure 34 and Local Rule 34.1, request is made on

each plaintiff who has not previously responded to requests for production of documents in the

Zonolite Attic Insulation products liability litigation to produce the documents and other tangible

things described in each request made below, within thirty (30) days from the date of service of

these requests, at the offices of Casner & Edwards LLP, One Federal Street, Boston, MA 02110,

for inspection and copying during regular business hours at a mutually agreeable time.

THESE REQUESTS ARE CONTINUING IN NATURE PURSUANT TO FRCP 26(e), AND
DEFENDANTS DEMAND THAT ANY INFORMATION COMING INTO THE
POSSESSION OF THE PLAINTIFF OR PLAINTIFF'S COUNSEL THAT WOULD CHANGE
THE ANSWERS IN ANY WAY BE PROMPTLY FURNISHED TO DEFENDANTS'
COUNSEL, IN ANY EVENT NO LATER THAN THIRTY (30) DAYS AFTER RECEIPT OF
SUCH INFORMATION.

INSTRUCTIONS

. This First Set of Master Requests for Production of Documents Directed to Plaintiffs

shall be answered by each plaintiff who has not previously responded to requests for production

of documents in the Zonolite Attic Insulation products liability litigation. These Requests shall

be deemed served on each plaintiff in any case later instituted in, removed to or transferred to

MDL 1376 (including cases transferred for pretrial purposes under 28 U.S.C. § 1407).
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 10 of 55

2. If you contend that the contents of any document requested to be produced for
inspection and copying are protected from disclosure by virtue of a privilege, you shall,
nevertheless, supply a description of the document in question which shall provide, with respect
to each such writing as part of such description thereof: (1) Each privilege whereby you contend
the contents of such writing are protected from disclosure; (2) Each and every fact upon which
you rely to support your claim of privilege; (3) The type of wniting (e.g., letter, memorandum,
telegram, felefexs notes or memoranda of telephone conversations, etc.); (4) The date, author(s),
recipient(s) and cc’s of each such writing; and (5) The general subject matter of each such
writing.

DEFINITIONS

The definitions contained in Local Rule 26.5(c) are incorporated as though they are set forth
fully herein. In addition, as used in these Requests for Production, the following terms have the

following meanings:

1. The term "your building(s)" shall mean any and all buildings purchased, sold or
owned by you or any entity in which you owned a majority or equivalent interest.

2. As used herein, the term "to abate” shall mean to remove, encapsulate, or enclose
products that contain any amount of asbestos fiber, or to take any other action to reduce the

alleged hazards from products that contain asbestos.

REQUEST FOR PRODUCTION NO. 1.: All documents concerning Zonolite Attic

Insulation or your exposure to Zonolite Attic Insulation.

RESPONSE:
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 11 of 55

REQUEST FOR PRODUCTION NO. 2.:

your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 3.:

building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 4.:

All documents concerning the purchase of

All documents concerning any sale of your

All documents concerning any due diligence

conducted in connection with the purchase or sale of your building(s), including, but not limited

to, any oral or written inquiries and responses, research, investigations, analyses, inspections,

engineering surveys, financial or environmental evaluations, or reports.

RESPONSE:

REQUEST FOR PRODUCTION NO. 5.:

building(s).

RESPONSE:

All documents concerning title to your

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 12 of 55

REQUEST FOR PRODUCTION NO. 6.: All documents concerning any inspection of

your building(s) at or prior to the time of its purchase or sale.

RESPONSE:

REQUEST FOR PRODUCTION NO. 7.: All reports of inspections made of your

building(s) at or prior to the time of its purchase or sale.

RESPONSE:

REQUEST FOR PRODUCTION NO. 8.: All documents concerning all repairs or

remediation undertaken as a result of inspections made in connection with the purchase or sale of
your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 9.: All documents concerning. testing or

inspection of your building(s) for the presence of asbestos, radon, lead, PCBs, or other
substances that have been alleged to be hazardous.

RESPONSE:
ok

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 13 of 55

REQUEST FOR PRODUCTION NO. 10.: All documents, including, without

limitation, all photographs, motion pictures, videotapes, slides, drawings, pictures, or other visual
aids, which portray or pertain to the condition of the attic insulation in your building(s) at any

time during or after installation or application.

RESPONSE:

REQUEST FOR PRODUCTION NO. 11.: All documents concerning tenant leases for
your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 12.: All documents concerning warnings or

notices given to occupants of your building(s) regarding the presence of asbestos, radon, lead,
PCBs, or other substances that have been alleged to be hazardous in your building(s).

RESPONSE:
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 14 of 55

REQUEST FOR PRODUCTION NO. 13.: All documents concerning warnings,

notices, or instructions given to you or the occupants of your building(s) regarding the presence,
disturbance, removal, containment, control, or abatement of Zonolite Attic Insulation in your
building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 14.: All documents concerning safety or health

regulations or concerns related to your building(s), including but not limited to correspondence,
literature, signs, or notices that were publicly posted, mailed, or otherwise distributed to the
occupants of your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 15.: All documents concerning any efforts to

inform, advise, warn, instruct, or otherwise communicate with your employees, tenants, or other
persons using or occupying your building(s) regarding asbestos or its alleged hazards.

RESPONSE:
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 15 of 55

REQUEST FOR PRODUCTION NO. 16.: All documents concerning warnings or

notices received by you regarding the presence of asbestos, radon, lead, PCBs, or other
substances that have been alleged to be hazardous in your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 17.: All documents or physical samples or

materials which evidence, concerning the presence of products that contain any amount of
asbestos fiber presently in your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 18.: All documents or physical samples or

materials concerning the presence of products that contain any amount of asbestos fiber formerly
in your building(s).

RESPONSE:
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 16 of 55

REQUEST FOR PRODUCTION NO. 19.: All documents concerning any test or

sample of air, bulk materials, dust, or fibers conducted in your building(s) or on material from
your building(s), including, without limitation, the testing protocols employed in conducting
and/or analyzing the results of such tests.

RESPONSE:

REQUEST FOR PRODUCTION NO. 20.: All documents concerning each action you,

or third parties on your behalf, have undertaken to assess or analyze the presence of products that
contain any amount of asbestos fiber in your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 21.: All documents concerning the identity of all

contractors who have performed work on your building(s).

RESPONSE:
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page17 of 55

REQUEST FOR PRODUCTION NO. 22.: All documents concerning the identity of the

manufacturer and the trade name of the attic insulation presently or formerly installed in your
building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 23.: All documents concerning the identification

of Zonolite Attic Insulation installed in your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 24.: All documents concerning Zonolite Attic

Insulation, including, but not limited to, advertisements, brochures, and promotional literature for
Zonolite Attic Insulation, which you reviewed prior to your purchase of Zonolite Attic Insulation
and/or prior to acquiring your building(s) in which Zonolite Attic Insulation had been installed.

RESPONSE:
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 18 of 55

REQUEST FOR PRODUCTION NO. 25.: All plans, blueprints, and specifications for

your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 26.: All documents concerning the purchase of

Zonolite Attic Insulation for installation in your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 27.: All documents concerning the installation of

Zonolite Attic Insulation in your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 28.: All documents concerning any specifications

given or made available by you, or anyone acting on your behalf, to the person(s) from whom the
attic insulation in your building(s) was purchased or by whom the attic insulation was installed in
your building(s).

RESPONSE:

10
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 19 of 55

REQUEST FOR PRODUCTION NO. 29.: All documents concerning any information

you have obtained, either oral or written, about the alleged asbestos hazards of Zonolite Attic
Insulation.

RESPONSE:

REQUEST FOR PRODUCTION NO. 30.: All documents concerning any information

that has been prepared, transmitted, or communicated to others, either oral or written, about the
alleged hazards of Zonolite Attic Insulation in your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 31.: All documents concerning any information

you have obtained, either oral or written, concerning asbestos.

RESPONSE:

II
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 20 of 55

REQUEST FOR PRODUCTION NO. 32.: All documents concerning any claim,

allegation, report, complaint, or other source of information that any person has contracted, has
claimed to have contracted, or may in the future contract any allegedly asbestos-related injury or
disease by reason of that person's exposure to Zonolite Attic Insulation in your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 33.: All documents concerning medical

examinations of your employees, tenants, or other persons using or occupying your building(s),
including x-rays and pulmonary function tests, which relate to exposure to asbestos, or products
or materials that contain any amount of asbestos fiber.

RESPONSE:

REQUEST FOR PRODUCTION NO. 34.: All documents concerning communications

with any defendants at any time prior to the commencement of this action.

RESPONSE:

12

NSN

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 21 of 55

REQUEST FOR PRODUCTION NO. 35.: All documents concerning communications

with your insurance carriers concerning the presence of products in your building(s) that contain
any amount of asbestos fiber.

RESPONSE:

REQUEST FOR PRODUCTION NO. 36.: All insurance policies under which you have

made a claim or may make a claim for any damages for which you seek recovery in this case and
all applications, invoices, receipts, claims, reports, correspondence, or other communications
made or received by you pursuant to or in connection with those insurance policies.

RESPONSE:

REQUEST FOR PRODUCTION NO. 37.: All documents concerning each action

which you, or third parties on your behalf, have undertaken to contain, control, or abate the
alleged hazard caused by the alleged presence of Zonolite Attic Insulation in your building(s),
including documents related to the amount of money that you have expended with respect to
each action.

RESPONSE:

[3
. =
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 22 of 55

REOUEST FOR PRODUCTION NO. 38.: All documents conceming repair,

maintenance, construction or renovation activities that can or have disturbed, displaced,
impacted, dislodged, or otherwise affected the attic insulation installed in your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 39.: All documents concerning each future action

which you expect to undertake, or which you expect third parties to undertake on your behalf, to
contain, control or abate any alleged hazard caused by the alleged presence of Zonolite Attic
Insulation in your building(s), including documents related to the amount of money which you
expect to expend with respect to each action.

RESPONSE:

REQUEST FOR PRODUCTION NO. 40.: All documents concerning any citation or

warning from the Environmental Protection Agency ("EPA") for any violation of the National
Emissions Standards for Hazardous Pollutants ("NESHAPS"), 40 C.F.R. § 661.140 et seq.,
pertaining to asbestos in your building(s).

RESPONSE:

14
:
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 23 of 55

REQUEST FOR PRODUCTION NO. 41.: All documents concerning any citation or

warning from any governmental entity for any violation of federal, state, or local regulations
pertaining to asbestos other than NESHAPS concerning your building(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 42.: All documents concerning any demolition or

renovation of your building(s) in which products that contain any amount of asbestos fiber had
been installed or were believed to have been installed, including the bulk sampling of material
disturbed during the demolition or renovation to ascertain the presence of asbestos and any
communications with the EPA regarding the demolition or renovation.

RESPONSE:

REQUEST FOR PRODUCTION NO. 43.: All documents concerning communications

with any local, state, or federal agency or governmental entity concerning the presence of
asbestos in your building(s).

RESPONSE:

15
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 24 of 55

REQUEST FOR PRODUCTION NO. 44.: All documents reflecting the names and/or

addresses of persons known or believed to be either members of the putative class or owners or
occupants of homes in which Zonolite Attic Insulation has been installed.

RESPONSE:

REQUEST FOR PRODUCTION NO. 45.: All documents concerning any test or

sample of air, bulk materials, dust, or fibers conducted in the home of any person other than
plaintiff in which Zonolite Attic Insulation has been installed or on material from the home of
any person other than plaintiff in which Zonolite Attic Insulation has been installed including,
without limitation, the testing protocols employed in conducting and/or analyzing the results of
such tests.

RESPONSE:

16
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 25 of 55

REQUEST FOR PRODUCTION NO. 46.: All documents concerning communications

with persons known or believed to be members of the putative class or owners or occupants of
homes in which Zonolite Attic Insulation has been installed.

RESPONSE:

Lacie. fie

“hate Fickler

Lisa M. Salazar

Hoyle, Morris & Kerr V
One Liberty Place, Suite 4900
1650 Market Street
Philadelphia, PA 19103

(215) 981-5850

Robert A. Murphy
Casner & Edwards, LLP
One Federal Street
Boston, MA 02110
(617) 426-5900

James J. Restivo
Lawrence Flatley
Douglas Cameron
Reed Smith LLP

435 6th Avenue
Pittsburgh, PA 15219
(412) 288-3122

Attorneys for Defendants
W.R. Grace & Company, a Delaware Corporation,
and W.R. Grace & Company-Conn

Dated: March 13, 2001

17

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 26 of 55

CERTIFICATE OF SERVICE

I, Lisa M. Salazar, hereby certify that on March 13, 2001, I caused to be served copies of the

foregoing Defendants’ First Set Of Master Requests For Production Of Documents Directed

To Plaintiffs upon the following counsel by Federal Express overnight delivery:

Elizabeth J. Cabraser, Esq.

c/o Thomas M. Sobol, Esq.

Leiff, Cabraser, Heimann & Bernstein, LLP
214 Union Wharf

Boston, MA 02109-1216

David Pastor, Esq.
Gilman and Pastor, LLP
999 Broadway

Saugus, MA 01906

John J. Stoia, Jr., Esq.

Milberg Weiss Bershad Hynes & Lerach,
LLP

600 West Broadway

1800 One America Plaza

San Diego, CA 92101-5050

James R. Carroll, Esq.

Skadden, Arps, Slate, Meagher & Flom, LLP
One Beacon Street

Boston, MA 02108

Edward J. Westbrook, Esq.

Ness Motley Loadholt Richardson & Poole
28 Bndgeside Blvd.

Mt. Pleasant, SC 29465

Sheila Birnbaum, Esq.

Skadden, Arps, Slate, Meagher & Flom, LLP
Four Times Square

New York, NY 10036

Kysacboly Ae

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 27 of 55

4. The following documents were filed with the Judicial Panel on Multidistrict
Litigation in conjunction with consolidation of the cases in MDL 1376: W.R. Grace Motion to
Transfer to the District of Massachusetts for Coordinated Pretrial Proceedings Pursuant to 28
U.S.C. §1407; W.R. Grace Brief in Support of Motion to Transfer to the District of
Massachusetts for Coordinated Pretrial Proceedings Pursuant to 28 U.S.C. §1407 (including as

exhibits the Lindholm complaint, the Price complaint, the Hunter complaint, and the Rule 26

Initial Disclosure Statement of Defendants in Lindholm); Joinder of Sealed Air Corporation in
Motion to Transfer to the District of Massachusetts for Coordinated Pretrial Proceedings
Pursuant to 28 U.S.C. §1407; Response of Plaintiffs Lindholm, Goldstein, and Szufnarowski to
Defendants’ Motion to Transfer to the District Court of Massachusetts for Coordinated Pretrial
Proceedings Pursuant to 28 U.S.C. §1407 and Memorandum in Support; Motion of Plaintiffs
Price, Prebil, and Prebil for Transfer and Coordination or Consolidation under 28 U.S.C. $1407
and Memorandum in Support (including as exhibits the Lindholm complaint, the Price

complaint, the Hunter complaint); Memorandum in Response of Plaintiff Hunter to Defendants’

Motion to Transfer to District of Massachusetts for Coordinated Pretrial Proceedings and in
Support of a Transfer to Southern District of Illinois; and W.R. Grace Reply Brief in Support of
Motion to Transfer to the District of Massachusetts for Coordinated Pretrial Proceedings

Pursuant to 28 U.S.C. §1407.

5. Attached hereto as Exhibit 2 are true and accurate copies of the following,
selected documents filed with the Judicial Panel on Multidistrict Litigation in conjunction with
consolidation of the cases in MDL 1376: W.R. Grace Motion to Transfer to the District of
Massachusetts for Coordinated Pretrial Proceedings Pursuant to 28 U.S.C. §1407; W.R. Grace

iz
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 28 of 55

Brief in Support of Motion to Transfer to the District of Massachusetts for Coordinated Pretrial
Proceedings Pursuant to 28 U.S.C. §1407; Joinder of Sealed Air Corporation in Motion to
Transfer to the District of Massachusetts for Coordinated Pretrial Proceedings Pursuant to 28
U.S.C. §1407; Response of Plaintiffs Lindholm, Goldstein, and Szufnarowski to Defendants’
Motion to Transfer to the District Court of Massachusetts for Coordinated Pretrial Proceedings
Pursuant to 28 U.S.C. §1407 and Memorandum in Support; Motion of Plaintiffs Price, Prebil,
and Prebil for Transfer and Coordination or Consolidation under 28 U.S.C. $1407 and
Memorandum in Support; Memorandum in Response of Plaintiff Hunter to Defendants’ Motion
to Transfer to District of Massachusetts for Coordinated Pretrial Proceedings and in Support of a
Transfer to Southern District of Illinois; and W.R. Grace Reply Brief in Support of Motion to
Transfer to the District of Massachusetts for Coordinated Pretrial Proceedings Pursuant to 28

U.S.C. §1407.

6. A Pretrial Case Management Order in MDL 1376 was filed on February 9, 2001.

A true and accurate copy is attached hereto as Exhibit 3.

z The following documents were filed with the MDL court regarding the issue of

class certification: Price Plaintiffs’ Motion for Class Certification, In re: Zonolite Attic

Insulation Products Liability Litigation, MDL 1376, filed January 23, 2001 and Memorandum in

Support of Price Plaintiffs’ Motion for Class Certification, filed January 23, 2001 (including as
exhibits a 51 Jurisdiction Summary of Negligence Standards, a 51 Jurisdiction Survey of Strict
Liability Law, a 51 Jurisdiction Survey: Fraud by Nondisclosure (Restatement $551) and
Fraudulent Concealment (Restatement §550), and a 51 Jurisdiction Survey of Punitive

3
Fh a ee a ew Ng ea eT a Hr SE ON se ET ec cra oS a RR 0 RNR a eS a ant ae ae SSA a eS Ee SRE aN PS ae ae

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 29 of 55

Damages); Declaration of Attorney Richard S. Lewis, filed January 23, 2001 (with exhibits),
Affidavit of Thomas M. Sobol, filed January 23, 2001 (including as exhibits a Consolidated
Amended and Supplemental Class Action Complaint with Jury Demand; a Statement of Decision

in Howard v. Ford Motor Co., California Superior Court No. 763785-2; and a Notice of Class

Action Regarding Masonite Hardboard Siding in Naef v. Masonite Corp., Alabama Circuit Court

No. CV-94-4033); W.R. Grace Memorandum Concerning the Merits, filed January 29, 2001 with
Appendix of References (including Affidavit and Testimony of Richard J. Lee, Ph. D.,
Deposition of Ernest R. Crutcher, Declaration and Testimony of Dr. Morton Corn, Testimony of
William E. Hughson, M.D., and Affidavit of Dr. Bertram Price); Plaintiffs’ Position Statement,
filed January 29, 2001; Grace Defendants’ Brief in Opposition to Plaintiffs’ Motion for Class
Certification and Notice (including Declaration of Robert A. Murphy and exhibits, and State Law
Variations Index), filed February 22, 2001; Defendant Sealed Air Corporation’s Joinder in the
Grace Defendants’ Brief in Opposition to Plaintiffs’ Motion for Class Certification and Notice,
filed February 2, 2001; Plaintiffs’ Reply Memorandum of Points and Authorities in Support of
Motion for Class Certification and Notice, filed March 26, 2001; Reply Declaration of Thomas
M. Sobol in Support of Motion for Class Certification and Notice, filed March 26, 2001
(including as exhibits a Department of Health and Human Services Preliminary Findings of
Medical Testing of Individuals Potentially Exposed to Asbestoform Minerals Associated with
Vermiculite in Libby Montana; a Draft Notice proposed by the Barbanti plaintiffs; EPA New

England Questions and Answers Regarding Vermiculite Insulation; the Order in United States v.

W.R. Grace & Co. et al., District of Montana No. CV-00-167-M-DWM granting EPA immediate

access to the Libby Montana mine; the National Institute for Occupational Safety and Health
(“NIOSH”) 1976 Revised Recommended Asbestos Standard; a March 1979 EPA Guidance

4

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 30 of 55

Document regarding asbestos-containing materials in schools; a 1980 NIOSH document
regarding workplace exposure to asbestos; a March 1983 EPA document regarding controlling
friable asbestos-containing materials in buildings; proposed EPA rules for friable asbestos-
containing materials in schools; a May 24, 1977 internal Grace memorandum regarding tremolite
in vermiculite; and an August 10, 2000 letter from Grace counsel to Robert M. Turkewitz);

Affidavit of John Prebil, filed March 26, 2001; and Affidavit of Paul Price, filed March 26, 2001.

8, Attached hereto as Exhibit 4 are true and accurate copies of the following,
selected documents filed with the MDL court regarding the issue of class certification: Price

Plaintiffs’ Motion for Class Certification, In re: Zonolite Attic Insulation Products Liability

Litigation, MDL 1376, filed January 23, 2001 and Memorandum in Support of Price Plainuffs’
Motion for Class Certification; W.R. Grace Memorandum Concerning the Merits, filed January
29, 2001 with Appendix of References; Plaintiffs’ Position Statement, filed January 29, 2001;
Grace Defendants’ Brief in Opposition to Plaintiffs’ Motion for Class Certification and Notice,
filed February 22, 2001; Defendant Sealed Air Corporation’s Joinder in the Grace Defendants’
Brief in Opposition to Plaintiffs’ Motion for Class Certification and Notice, filed February 2,
2001; and Plaintiffs’ Reply Memorandum of Points and Authorities in Support of Motion for

Class Certification and Notice, filed March 26, 2001

a: The following discovery documents were filed with the MDL court: Rule 26
Initial Disclosure Statement of Defendants W.R. Grace & Co.-Conn. and W.R. Grace & Co., In

re: Zonolite Attic Insulation Products Liability Litigation, MDL 1376, dated February 15, 2001;

Notice of Deposition of Defendant Sealed Air Corporation Pursuant to Federal Rule of Civil

5
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 31 of 55

Procedure 30(b)(6), dated February 21, 2001; Plaintiffs’ First Request for Production of
Documents to Defendant Sealed Air Corporation, dated February 21, 2001; Plaintiffs’ First Set
of Interrogatories to Defendant Sealed Air Corporation, dated February 21, 2001; Plaintiffs’ First
Request for Production of Documents to Defendants W.R. Grace & Co.-Conn. and W.R. Grace
& Co., dated February 21, 2001; Notice of Deposition of Defendants W.R. Grace & Co.-Conn.
and W.R. Grace & Co. Pursuant to Federal Rule of Civil Procedure 30(b)(6), dated February 21,
2001; Plaintiffs’ First Set of Interrogatories to Defendants W.R. Grace & Co.-Conn. and W.R.
Grace & Co., dated February 21, 2001; Notice of Deposition of Custodian of Defendants’
Records Pursuant to Fed. R. Civ. P. 30, dated March 9, 2001; Defendants’ First Set of Master
Requests for Production of Documents Directed to Plaintiffs, dated March 13, 2001; Defendants’
First Set of Master Interrogatories Directed to Plaintiffs, dated March 13, 2001; Grace
Defendants’ Motion for Protective Order and Request for Oral Argument, filed March 20, 2001;
Defendants’ W.R. Grace & Co.-Conn. and W.R. Grace & Company’s Memorandum of Law in
Support of their Motion for a Protective Order, filed March 20, 2001; Certification of Defendant
W.R. Grace & Co.-Conn.’s Responses to Plaintiff's First Set of Interrogatories, dated March 23,
2001; Defendant W.R. Grace & Co.-Conn.’s Responses to Plaintiff's First Request for
Production of Documents, dated March 26, 2001; Defendant W.R. Grace & Co.-Conn.’s
Responses to Plaintiff's First Set of Interrogatories, dated March 26, 2001; Plaintiffs’ Emergency
Request for Hearing and Oral Argument on Defendants’ Motion for a Protective Order, filed
March 28, 2001; Plaintiffs’ Opposition to Defendants W.R. Grace & Co.-Conn.’s and W.R.
Grace & Company’s Motion for a Protective Order, filed March 28, 2001; Declaration of
Timothy G. Blood in Support of Plaintiffs’ Opposition to Defendants’ W.R. Grace & Co.-
Conn.’s and W.R. Grace and Company’s Motion for a Protective Order, filed March 28, 2001;

6
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 32 of 55

and Declaration of Hector Geribon in Support of Plaintiff's Opposition to Defendants’ W.R.
Grace & Co.-Conn.’s and W.R. Grace & Company’s Motion for a Protective Order, filed March
28, 2001 (including as exhibits a memorandum to F.E. Larkin from R.W. Samuels dated
September 12, 1985; Claudia H. Deutsch, /n $5 Billion Deal, Grace Will Sell Packaging
Business, N.Y. Times, Aug. 15, 1977 at D1; Sabrina Jones, Lawsuits Cloud Grace's Future; Past
Hounds High-Profile Chemical Firm, Washington Post, March 8, 2001, at TO5; Reuters,
Company News: Grace Stock Plummets After Talk About Chapter 11, N.Y. Times, Jan. 31, 2001,

at C4).

10. Attached as Exhibit 5 are true and accurate copies of the following, selected
discovery documents filed with the MDL court: Rule 26 Initial Disclosure Statement of
Defendants W.R. Grace & Co.-Conn. and W.R. Grace & Co., dated February 15, 2001; Notice of
Deposition of Defendant Sealed Air Corporation Pursuant to Federal Rule of Civil Procedure
30(b)(6), dated February 21, 2001; Plaintiffs’ First Request for Production of Documents to
Defendant Sealed Air Corporation, dated February 21, 2001; Plaintiffs’ First Set of
Interrogatories to Defendant Sealed Air Corporation, dated February 21, 2001; Plaintiffs’ First
Request for Production of Documents to Defendants W.R. Grace & Co.-Conn. and W.R. Grace
& Co., dated February 21, 2001; Notice of Deposition of Defendants W.R. Grace & Co.-Conn.
and W.R. Grace & Co. Pursuant to Federal Rule of Civil Procedure 30(b)(6), dated February 21,
2001; Plaintiffs’ First Set of Interrogatories to Defendants W.R. Grace & Co.-Conn. and W.R.
Grace & Co., dated February 21, 2001; Notice of Deposition of Custodian of Defendants’

Records Pursuant to Fed. R. Civ. P. 30, dated March 9, 2001; Defendants’ First Set of Master
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 33 of 55

Requests for Production of Documents Directed to Plaintiffs, dated March 13, 2001; Defendants’
First Set of Master Interrogatories Directed to Plaintiffs, dated March 13, 2001; Certification of
Defendant W.R. Grace & Co.-Conn.’s Responses to Plaintiff's First Set of Interrogatories, dated
March 23, 2001; Defendant W.R. Grace & Co.-Conn.’s Responses to Plaintiff’s First Request for
Production of Documents, dated March 26, 2001; and Defendant W.R. Grace & Co.-Conn.’s

Responses to Plaintiff's First Set of Interrogatories, dated March 26, 2001.

FURTHER THE AFFIANT SAYETH NOT.

Thomas M. Sobol, Esq.
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 34 of 55

CERTIFICATE OF SERVICE

I, William D. Sullivan, hereby certify that on April 25, 2001, I did serve the foregoing:
Affidavit of Attorney Thomas M. Sobol in Support of Motion for Relief from the Automatic Stay

upon the parties identified below via overnight delivery or hand delivery.

Laura Davis Jones, Esquire Scott L. Baena, Esquire

Pachulski, Stang, Ziehl, Young & Jones Bilzin,Sumberg,Dunn,Baena,Price& Axelrod
919 Market Street, Suite 1600 First Union Financial Center

Wilmington, DE 19801 200 South Biscayne Blvd, Suite 2500

Fax: 302-652-4400 Miami, FL 33131

Fax: 305-374-7593

James H.M. Sprayregen, Esquire Elihu Inselbuch, Esquire
Kirkland & Ellis Caplin & Drysdale

200 East Randolph Drive 399 Park Avenue, 36" Floor
Chicago, Illinois 60601 New York, NY 10022

Fax: 312-861-2200 212-644-6755

Frank Perch, III, Esquire Lewis Kruger, Esquire
Office of the United States Trustee Stroock & Stroock & Lavan
601 Walnut Street, Suite 950 West 180 Maiden Lane
Philadelphia, PA 19106 New York, NY 10038-4982
Fax: 302-573-6497 212-806-6006

Under penalty of perjury, I declare that the foregoing is true and correct.

Date” William D. Sullivan

zy / aS 7 o/ 2 ble. D Ahlen,
.

G:\Does\CLIENT\220000\00001 \misc\00075952, DOC
Fe

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 35 of 55

DOCKET NO. 1376 FILED
CLERK'S OFFICE
BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE ZONOLITE ATTIC INSULATION PRODUCTS LIABILITY LITIGA TION

BEFORE JOHN F. NANGLE, CHAIRMAN, LOUIS C. BECHTLE, JOHN F.
KEENAN, WM. TERRELL HODGES, MOREY L. SEAR, BRUCE M. SELYA*
AND JULIA SMITH GIBBONS, JUDGES OF THE PANEL

TRANSFER ORDER

This litigation consists of the four actions listed on the attached Schedule A and pending in three
districts as follows: two actions in the District of Massachusetts and one action each in the Southern
District of Hlinois and the District of Montana. Defendants W-R. Grace & Company-Conn and W.R.
Grace & Co. (collectively, Grace) move the Panel, pursuant to 28 U.S.C. §1407, for centralization of the
litigation in the District of Massachusetts. All responding parties agree on centralization but not
necessarily on the suggested transferee district. Joining movants in favoring the District of Massachusetts
are i) plaintiffs in the two Massachusetts actions, and ii) additional defendant Sealed Air Corporation. The
Iilinois plaintiff supports centralization in the Southern District of Illinois or, as a second choice, the
District of Montana. The Montana plaintiffs express their amenability to selection of any of the three
districts in which constituent actions are pending.

On the basis of the papers filed and the hearing held, the Panel finds that the actions in this
litigation involve common questions of fact, and that centralization under Section 1407 in the District of
Massachusetts will serve the convenience of the parties and witnesses and promote the just and efficient
conduct of the litigation. Each action is brought on behalf of a nationwide class and involves allegations
of property damage caused by the presence of tremolite asbestos in Zonolite Attic Insulation marketed by
Grace. Centralization under Section 1407 is thus necessary in order to eliminate duplicative discovery,
prevent inconsistent pretrial rulings (especially with regard to class certification issues), and conserve the
resources of the parties, their counsel and the judiciary.

Given the range of locations of parties and witnesses in this docket and the geographic dispersal
of current and anticipated constituent actions, it is clear that a wide range of suitable transferee districts
presents itself. In concluding that the District of Massachusetts is the appropriate forum for this docket,
Wwe note that 1) the Massachusetts district is the preferred forum of all responding defendants and plaintiffs
in two of the four actions; ii) as the situs of the headquarters of the Grace division which marketed the
Zonolite insulation, the district is likely to be a source of substantial discovery of witnesses and documents;
and iii) the district enjoys general caseload conditions that will permit the Panel to effect the Section 1407

“Judge Selya took no part in the decision of this matter,
4-2686 16:55 Pr. Wor us

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 37 of 55

= 2

assignment to a court with the present resources to devote the time to pretrial matters that this docket is
likely to require.

IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. §1407, the actions listed on the
attached Schedule A and pending in districts other than the District of Massachusetts be, and the same
hereby are, transferred to the District of Massachusetts and, with the consent of that court, assigned to the
Honorable Patti B. Saris for coordinated or consolidated pretrial proceedings with thé‘actions pending in
that district and listed on Schedule A.

&Y John F. Nangle t/

Chairman

4-2088 16:55 . ., P.84/84
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 38 of 55

Schedule A

re Zonolite Attic

Sou istric Ilinoi
Jan Hunter v. W.R. Grace & Co., et al., C.A. No. 3:00-569

District of Massachusetts

Edward M, Lindholm v. W.R. Grace & Co., et al., C.A. No. 1:00-10323
Joel Goldstein, et al. vy. W.R. Grace & Co., et al., C.A. No, 1:00-10873

‘ict

Paul Price, et al. v. W.R. Grace & Co., et al., C.A. No. 9:00-71

TOTAL P.#4
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 39 of 55

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 40 of 55

RECEIVED
AUG 2 1 2000

LIEFF, CABRASER, HEIMANN & BERNSTEIN

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

MDL DOCKET NO.

IN RE ZONOLITE ATTIC INSULATION LITIGATION

Motion To Transfer To The District of Massachusetts
For Coordinated Pretrial Proceedings Pursuant To 28 U.S.C. § 1407
W.R. Grace & Company (a Delaware corporation) ("Grace Delaware") and W.R.

Grace & Company-Conn. (a Connecticut corporation) ("Grace Conn.") move this panel for
transfer of Zonolite Attic Insulation Cases in which movants are named as defendants to the
United States District Court for the District of Massachusetts for coordinated pretrial proceedings
before the Honorable Patti B. Saris, and in support thereof aver as follows:

1. Grace Delaware and Grace Conn. have recently been sued in four federal court
actions seeking damages and equitable relief arising from the presence of tremolite asbestos in

Zonolite Attic Insulation, allegedly sold by the defendants. A schedule of the actions is attached

e
vv,
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 41 of 55

hereto as Exhibit A.
Cases Pending in Different Districts

2. The Zonolite Attic Insulation cases are pending in three different districts, two in the
District of Massachusetts, one in the District of Montana, Missoula Division, and one in the
Southern District of Illinois.

3. Each of the Zonolite Attic Insulation cases was filed as a class action complaint.

4. While the class definitions alleged in the complaints vary slightly, the plaintiffs in
each of the Zonolite Attic Insulation cases seeks to represent a nationwide class.

5. The earliest-filed case, Lindholm, purports to be brought on behalf of a class of "all
persons and entities in the United States who own residences or other buildings in which
Zonolite Attic Insulation . . . was installed." (Lindholm/Goldstein amended complaint, { 1) The
Lindholm complaint was filed in the United States District Court for the District of
Massachusetts on February 22, 2000; a substantially similar putative class action case, Goldstein,
was filed on May 5, 2000, in the United States District Court for the District of Massachusetts.
The two cases have now been consolidated, and a single amended complaint has been filed. A
copy of the Lindholm/Goldstein amended complaint is attached hereto as Exhibit B.

6. The next filed complaint, Price, alleges the following class definition: "All owners or
occupiers of real property located in the United States in which Zonolite Attic Insulation has

been installed." (Price complaint, 56). The Price complaint was filed in the United States

' The fifth action was filed on March 24, 2000, against the same defendants in the Superior Court, State of
Washington, County of Spokane, alleging dangers from Zonolite Attic Insulation, and seeking to represent a class of
owners and occupiers of real property in Washington in which Zonolite Attic Insulation has been installed. The
sixth action was filed on August 2, 2000, against defendant W.R. Grace & Co.-Conn. in the Superior Court, State of
Illinois, Madison County, alleging dangers from Zonolite Attic Insulation, and seeking to represent a class of owners
and occupiers of real property in Illinois and Missouri in which Zonolite Attic Insulation has been installed.
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 42 of 55

District Court for the District of Montana, Missoula Division, on April 14, 2000. A copy of the
Price complaint is attached hereto as Exhibit C.

7. The latest filed complaint, Hunter, seeks certification of a class of "[a]ll owners or
occupiers of real property located in the United States in which Zonolite Attic Insulation has
been installed." (Hunter complaint, § 55) The Hunter complaint was filed on July 19, 2000, in
the United States District Court for the Southern District of Illinois. A copy of the Hunter
complaint is attached hereto as Exhibit D.

Common Questions of Fact

8. The four Zonolite Attic Insulation cases allege numerous common questions of fact,
which warrant coordinated pretrial proceedings before a single district court judge. While Grace
Conn. and Grace Delaware will challenge the predominance of common issues in the context of
certification of the putative classes, the Zonolite Attic Insulation complaints allege the following
common questions of fact:

a. Whether Zonolite is dangerous (or not reasonably safe) (Lindholm/Goldstein
amended complaint { 56.a.; Price complaint §58.A.; Hunter complaint § 57.A.);

b. Whether defendants provided adequate warnings in connection with Zonolite
(Lindholm/Goldstein amended complaint § 56.m.; Price complaint § 58.B.;
Hunter complaint J 57.B.);

c. Whether Zonolite constitutes a present threat to health and safety
(Lindholm/Goldstein amended complaint { 56.n.; Price complaint § 58.C.; Hunter
complaint ] 57.C.);

d. Whether Zonolite installed in buildings constitutes a present threat to the health

and safety in that owners and occupants will be exposed to dangerous levels of
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 43 of 55

asbestos in the ordinary use and enjoyment of their properties
(Lindholm/Goldstein amended complaint  56.n.; Price complaint 4 58.D.; Hunter
complaint J 57.D.);

e. Whether defendants concealed from class members and others information about
the hazards of exposure to tremolite asbestos and Zonolite Attic Insulation
(Lindholm/Goldstein amended complaint § 56.k.; Price complaint § 58.F.; Hunter
complaint 4 57.F.);

f. Whether defendants' public statements, advertisements, and representations
concerning Zonolite were untrue and published with scienter or negligently
(Lindholm/Goldstein amended complaint {ff 56.f & .g; Price complaint 4
58.G.&H.; Hunter complaint 99 57.G.&H.);

g. Whether class members have suffered harm to their property interests
(Lindholm/Goldstein amended complaint  56.0.; Price complaint 4 58.K.; Hunter
complaint § 57.K.).

9. In addition to the foregoing common issues of fact designated as such by the
complaints, all of the complaints recite a common factual background including the following
common factual allegations contained in each of the complaints: the alleged tremolite asbestos
contamination of Zonolite Attic Insulation and defendants’ alleged knowledge thereof,
defendants' alleged knowledge of "secret tests" performed by a predecessor owner of the
vermiculite mine on its workers; defendants’ alleged "secret animal tests" on the association
between tremolite asbestos and mesothelioma; defendants’ alleged decision not to warn of the
alleged health risks of Zonolite Attic Insulation; and defendants’ alleged decision to withhold a

drafted press release regarding the discontinuance of Zonolite Attic Insulation.
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 44 of 55

(Lindholm/Goldstein amended complaint §§ 14-21; Price complaint {| 19-48; Hunter complaint

q§ 16-49).

The Complexity of the Zonolite Attic Insulation Cases Warrant MDL Treatment Even
Though There Are Not A Large Number of Cases At This Time

10. Although only four federal court Zonolite Attic Insulation cases are presently
pending, these four cases purport to be nationwide class actions, brought on behalf of building
owners with Zonolite Attic Insulation in all fifty states. Accordingly, the cases potentially are
much more complex and larger in scope than individual federal court cases.

11. Moreover, the overlapping class definitions in the four national class actions present a
risk of inconsistent adjudication on the issue of class certification, which could be avoided by
consolidation and resolution of the issue of class certification by a single judge.

12. In addition, based on their many years of experience in the asbestos products liability
litigation, Grace Conn. and Grace Delaware anticipate that many more "copy-cat" suits will be
filed by plaintiffs' attorneys throughout the country.

13. The potential for settlement of the litigation is greater if the cases are consolidated for
pretrial purposes.

14. The complexity of the Zonolite Attic Insulation cases is apparent from the causes of
action asserted and the relief sought in the pending complaints.

15. Each of the complaints asserts causes of action for fraud, negligence, and strict
liability; and each seeks relief in the form of class certification and compensatory and punitive
damages.

16. In addition, the Lindholm/Goldstein amended complaint asserts breach of warranty,
nuisance and unjust enrichment claims, violations of the fifty states’ various laws prohibiting

deceptive trade practices, and violations of the RICO, 18 U.S.C. § 1962.
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 45 of 55

17. Moreover, each of the complaints seek unique and complex relief in the form of the
establishment of various court-supervised and defendant-funded programs including an
identification program to verify the suspected presence of Zonolite in buildings, a program to
issue warnings and other information to building owners and others who work in them, a
research and education trust, and a remediation and containment program.

Transfer to the District of Massachusetts Will Be Convenient for the Parties and Witnesses

18. Two of the four Zonolite Attic Insulation cases are presently venued in the District of
Massachusetts. Accordingly, transfer of all cases for coordination before a single judge in the
District of Massachusetts will be convenient for at least half of the named plaintiffs and the
defendants.

19. Moreover, because these cases purport to be nationwide class actions, seeking to
represent building owners in all fifty states, the situs of the litigation is not critical.

20. Cambridge, Massachusetts is the headquarters of the Grace Conn. Construction
Products Division. Accordingly, many potential witnesses and approximately 950 boxes of
original documents relating to the manufacture and sale of vermiculite products, including attic
insulation, are located in Cambridge, Massachusetts. (See Rule 26 Initial Disclosure Statement
of Defendants W.R. Grace & Co.-Conn. and W.R. Grace & Co. filed in the Lindholm/Goldstein
action, attached hereto as Exhibit E).

21. Grace-Conn. and Grace-Delaware have initially identified 9 witnesses located in
Massachusetts in its initial disclosure filed in the Lindholm/Goldstein action. (Exhibit E).

22. In addition, the majority of the defendants' documents are located in Massachusetts.
In addition to the 950 boxes of documents located in Cambridge, Massachusetts, 400 boxes of

original documents relating to the manufacture and sale of commercial asbestos-containing
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 46 of 55

products are stored in a repository at Winthrop Square in Boston. An additional 54 boxes of
documents that were formerly stored in Libby, Montana containing personnel records and
documents regarding the operation of the Libby, Montana mine and mill are housed at Winthrop
Square. (Id.).

23. The remainder of Grace's original documents regarding the operation of its former
mine and mill in Libby, Montana, approximately 1000 boxes, including sales records for Libby
vermiculite and other Zonolite products, are not stored in Montana. Rather, Grace's counsel in
Denver and Boulder, Colorado maintains those documents. (See id.).

24. The only connection of Montana to the Zonolite Attic Insulation cases is that
Montana is the location of the former Libby, Montana mine and mill for the vermiculite used in
the product. By contrast, Grace processed and distributed Zonolite Attic Insulation from two
plants in Massachusetts and two plants in Illinois.

The Discovery and Case Management Status of the Lindholm/Goldstein Action Favors
Transfer to the District of Massachusetts

25. The Lindholm/Goldstein case is the most advanced procedurally of the four Zonolite
Attic Insulation cases. In Lindholm/Goldstein, unlike Price or Hunter, Grace Conn. and Grace
Delaware have filed their Rule 26 Initial Disclosure Statement, as has the plaintiff. Discovery
has commenced in Lindholm/Goldstein, but not in Price or Hunter. The plaintiff has served
Grace Conn. and Grace Delaware with interrogatories, requests for production of documents, and
a Rule 30(b)(6) deposition notice. Indeed, plaintiffs' counsel in Lindholm/Goldstein spent four
days at Grace's documents depository in Boston in June 2000. By contrast, in Hunter, no
discovery has been taken; and in Price, plaintiff's counsel, who are also plaintiff's counsel in the

state court action in Washington, has not commenced any case specific discovery.

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 47 of 55

26. Judge Saris, to whom the consolidated Lindholm and Goldstein actions have been
assigned, has held a scheduling conference in Lindholm/Goldstein, which was attended by one of
plaintiffs’ counsel in Price, and has scheduled a second conference in the consolidated cases for
early September. The parties have submitted a Joint Statement and Proposed Pretrial Scheduling
Order in Lindholm/Goldstein.

27. Therefore, transfer of all four Zonolite Attic Insulation cases to Judge Saris, who has
had the opportunity to gain some familiarity with the litigation, would promote the just and
efficient conduct of the litigation.

WHEREFORE, W.R. Grace & Company and W.R. Grace & Company-Conn.
respectfully request that this Panel transfer the Zonolite Attic Insulation Cases to the United
States District Court for the District of Massachusetts for coordinated pretrial proceedings before

Judge Saris.

Respectfully submitted,
lene (oh,

SADE

Lawrence T. Hoyle, Jr.

Arlene Fickler

Lisa M. Salazar

R. David Walk, Jr.

Hoyle, Morris & Kerr LLP
1650 Market Street - Suite 4900
Philadelphia, PA 19103

(215) 981-5700

Dated: August 17, 2000 Attorneys for W.R. Grace & Company (a Delaware
corporation) and W.R. Grace & Company-Conn. (a
Connecticut corporation)

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 48 of 55

CERTIFICATE OF SERVICE
I hereby certify that on this 17th day of August, 2000, I caused a true and correct
copy of the foregoing Motion to Transfer to the District of Massachusetts for Coordinated
Pretrial Proceedings Pursuant to 28 U.S.C. § 1407 and Brief and Exhibits in support thereof, to
be served by U.S. Mail postage pre-paid addressed as follows:

Jon L. Heberling

Roger M. Sullivan

Allan M. McGarvey

McGARVEY, HEBERLING, SULLIVAN &
McGARVEY, P.C.

745 South Main

Kalispell, MT 59901

Darrell W. Scott

LUKINS & ANNIS, P.S.

1600 Washington Trust Financial Center
717 W. Sprague Ave.

Spokane, WA 99201-0466

Elizabeth J. Cabraser

LIEFF, CABRASER, HEIMANN &
BERNSTEIN, LLP

Embarcadero Center West, 30" Floor
275 Battery Street

San Francisco, CA 94111

Edward J. Westbrook

NESS MOTLEY LOADHOLT RICHARDSON
& POOLE

28 Bridgeside Blvd.

P.O. Box 1792

Mt. Pleasant, SC 29465

Steven J. Toll

COHEN, MILSTEIN, HAUSFELD & TOLL, P.L.L.C.
999 Third Avenue, Suite 3600

Seattle, WA 98104
Geen Ra a a a em aS ee ee eee

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 49 of 55

Richard S. Lewis

COHEN, MILSTEIN, HAUSFELD & TOLL
1100 New York Ave., N.W.

West Tower, Suite 500

Washington, D.C. 20005-3934

Attorneys for plaintiff in
Price v. W.R. Grace & Co.

Sam E. Haddon

Steven C. Haddon

BOONE, KARLBERG & HADDON P.C.
300 Central Square

201 West Main

P.O. Box 9199

Missoula, MT 59807-9199

Sheila L. Birnbaum

Bert L. Wolff

SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
Four Times Square

New York, NY 10036

Attorneys for defendant
Sealed Air Corporation in
Price v. W.R. Grace & Co,

Gary L. Graham

GARLINGTON, LOHN & ROBINSON, PLLP
199 W. Pine, P.O. Box 7909
Missoula, MT 59807-7909

Attorneys for defendants
W.R. Grace & Co. and
W.R. Grace & Co.-Conn. in
Price v. W.R. Grace & Co.

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 50 of 55

Kenneth G. Gilman

David Pastor

Edward L. Manchur

GILMAN AND PASTOR, LLP
One Boston Place, 28th fl.
Boston, MA 02108

Attomeys for Individual and Representative
Plaintiff, Edward M. Lindholm, in
Lind y. W.R. Grace Oo.

Mark S. Williams

BORRELLI, HUTTON & WILLIAMS, P.A.
(A Professional Corporation)

376 Trapelo Road

Belmont, MA 02478

Attorneys for Individual and Representative
Plaintiffs, Joel Goldstein and John J. Szufnarowski,
in Lindholm v. W.

Robert A. Murphy
CASNER & EDWARDS LLP
One Federal Street
Boston, MA 02110

Attorneys for defendants
W.R. Grace & Co. and
W.R. Grace & Co.-Conn.

in Lindholm v. W.R. Grace & Co.

Mark C. Goldenberg

HOPKINS GOLDENBERG, P.C.
Elizabeth V. Heller

2132 Pontoon Road

Granite City, IL 62040

John J. Stoia

MILBERG WEISS BERSHAD
HYNES & LERACH LLP

600 West Broadway

1800 One America Plaza

San Diego, CA 92101-3356
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 51 of 55

Christopher A. Seeger
SEEGER WEISS LLP

One William Street

New York, New York 10004

Attorneys for Plaintiffs in
unter v. W.R. Grace ompa

Lou Aleksich, Jr., Clerk

United States District Court for the
District of Montana, Missoula Division

Post Office Bldg.

P.O. Box 8537 (59807-8537)

Missoula, MT 59801

Norbert G. Jaworski, Clerk

United States District Court for the
Southern District of Illinois

P.O. Box 249 (62202)

East St. Louis, IL 62201

Tony Anastas, Clerk

United States District Court for the
District of Massachusetts

U.S. Courthouse

1 Courthouse Way

Boston, MA 02210

R. David Walk, Jr.

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 52 of 55
so RECEIVED
AUG 2 1 2000

LIEFF, CABRASER, HEIMANN & BERNSTEIN

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

MDL DOCKET NO. __

IN RE ZONOLITE ATTIC INSULATION LITIGATION

Brief In Support Of Motion To Transfer To The District of Massachusetts
For Coordinated Pretrial Proceedings Pursuant To 28 U.S.C. § 1407

W.R. Grace & Company (a Delaware corporation) ("Grace Delaware") and W.R.
Grace & Company-Conn. (a Connecticut corporation) ("Grace Conn.") submit this brief in
support of their motion to transfer the Zonolite Attic Insulation Cases in which movants are
named as defendants to the United States District Court for the District of Massachusetts for
coordinated pretrial proceedings before the Honorable Patti B. Saris.

FACTUAL BACKGROUND

Grace Delaware and Grace Conn. were recently sued in six putative class actions

-- four in federal court and two in state court -- complaining of the presence of tremolite asbestos

in Zonolite Attic Insulation allegedly mined, manufactured, and sold by the defendants. Zonolite

Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 53 of 55

Attic Insulation is a vermiculite product that was utilized primarily in private residences as an
insulating product. The vermiculite used in Zonolite from 1963 to 1984 was mined and milled by
Grace Conn. at a vermiculite mine in Libby, Montana. Vermiculite is not a form of asbestos. It
is a mineral that has been used for more than 75 years in numerous products. When vermiculite
was mined in Libby, Montana, a small amount of asbestiform mineral known as tremolite was
among the materials excavated with the vermiculite. Grace Conn. acted reasonably and
diligently to remove that contaminant during processing of the vermiculite ore at Libby and
during expansion of the vermiculite at expanding plants. Grace's efforts in this regard were so
successful that Zonolite Attic Insulation does not meet the definition of an asbestos-containing
product in various government regulations. See, e.g.,40 C.F.R. §§ 61.141 and 763.83.
Nonetheless, in the wake of recent publicity concerning environmental remediation of the
asbestos at Libby, six class action lawsuits have been filed against Grace Conn. and its parent
Grace Delaware, asserting that Zonolite is a hazardous product warranting remediation.

Four of the actions were filed in federal district courts: two in the United States
District Court for the District of Massachusetts, one in the United States District Court for the
District of Montana, Missoula Division, and one in the United States District Court for the
Southern District of Illinois.’ Each of the named plaintiffs in the four actions seeks to represent a
nearly identical national class of building owners and occupants. Because of the complexity of
the matters and the potential for inconsistent pretrial rulings, especially on class certification,
centralization of the actions and transfer of the cases to the District of Massachusetts under 28

U.S.C. § 1407 will promote the just and efficient conduct of the actions.

' The fifth action was filed on March 24, 2000, against the same defendants in the Superior Court, State of
Washington, County of Spokane, alleging dangers from Zonolite Attic Insulation, and seeking to represent a class of
owners and occupiers of real property in Washington in which Zonolite Attic Insulation has been installed. The
sixth action was filed on August 2, 2000, against defendant W.R. Grace & Co.-Conn. in the Superior Court, State of
Illinois, Madison County, alleging dangers from Zonolite Attic Insulation, and seeking to represent a class of owners
and occupiers of real property in Illinois and Missouri in which Zonolite Attic Insulation has been installed.
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 54 of 55

ARGUMENT

I, Coordinated Pretrial Proceedings In The Four National Class Actions Will
Promote The Just And Efficient Conduct Of the Cases.

While the class definitions alleged in the four complaints filed in federal court
vary slightly, each of the Zonolite Attic Insulation cases purports to be brought on behalf of a
nationwide class of persons owning or occupying property containing Zonolite Attic Insulation
sold by Grace Conn. and/or Grace Delaware. The first case, Lindholm, was filed in the United
States District Court for the District of Massachusetts on February 22, 2000, and was
subsequently consolidated with a similar putative class action case, the Goldstein case, which
was filed in the same District Court on May 5, 2000. The Lindholm/Goldstein complaint, as
recently amended, alleges that it purports to be brought on behalf of a class of "all persons and
entities in the United States who own residences or other buildings in which Zonolite Attic
Insulation . . . was installed." (Lindholm/Goldstein amended complaint, § 1).* The next filed
complaint, Price, filed in the United States District Court for the District of Montana, Missoula
Division, on April 14, 2000, asserts the following class definition: "All owners or occupiers of
real property located in the United States in which Zonolite Attic Insulation has been installed."
(Price complaint, 56). The latest filed complaint, Hunter, filed in the United States District
Court for the Southern District of Illinois on July 19, 2000, seeks certification of a class of "[a]ll
owners or occupiers of real property located in the United States in which Zonolite Attic
Insulation has been installed." (Hunter complaint, § 55).

Normally the pendency of only two or three related actions is viewed by the Panel

as too minimal in number to warrant MDL treatment where the common questions involved are

not sufficiently complex. See In re US Airways, Inc., Employment Practices Litigation, Docket

No. 1302, 2000 U.S. Dist. LEXIS 1227, at *2 (JPML Feb. 4, 2000); In re North Star Steel

Antitrust Litigation, Docket No. 1223, 1998 U.S. Dist. LEXIS 4491, at *2 (JPML April 3, 1998);

2 Copies of the complaints filed in each action for which movants seek MDL treatment are exhibits to the motion
accompanying this brief.
Case 01-01139-AMC Doc 150-16 Filed 04/25/01 Page 55 of 55

In re Boating Accident Near Cozumel, Mexico, On May 24, 1996, Docket No. 1294, 1999 U.S.

Dist. LEXIS 15761, at *2 (JPML Oct. 5, 1999).
The Panel favors transfer, however, where the two or three cases present
overlapping national class actions. That factor alone provides the level of complexity to the

cases that has led the Panel to conclude that transfer is warranted to promote the just and

efficient conduct of the actions. In re LifeUSA Holdings, Inc., Annuity Contracts Sales Practices

Litigation (No. II), Docket No. 1273, 1999 U.S. Dist. LEXIS 4918, at *2 (JPML April 7, 1999)
(two actions brought as class actions on behalf of overlapping classes of purchasers of annuities;
“Centralization under Section 1407 will eliminate duplicative discovery, prevent inconsistent
pretrial rulings (especially with respect to class certification issues), and conserve the resources
of the parties, their counsel and the judiciary.”); In re Methionine Antitrust Litigation, Docket
No. 1311, 1999 U.S. Dist. LEXIS 19206, at *4 (JPML Dec. 8, 1999) (five antitrust class actions
transferred where plaintiffs in all actions seek to represent the same putative class of Methionine
purchasers, although with slight variations in the class periods); In re The Northwestern Mutual
Life Insurance Company Sales Practices Litigation, Docket No. 1213, 1998 U.S. Dist. LEXIS
5495, at *2 (JPML April 16, 1998) (two actions brought as class actions on behalf of overlapping
nationwide classes of purchasers of Northwestern policies transferred to prevent inconsistent
pretrial rulings, especially with respect to class certification issues); In re The Hartford Sales
Practices Litigation, Docket No. 1204, 1997 U.S. Dist. LEXIS 19671, at *2 (JPML Dec. 8, 1997)
(two actions brought as class actions on behalf of substantially the same class of purchasers of
policies transferred to prevent inconsistent pretrial rulings, especially with respect to class
certification issues).

The overlap among the putative national classes of owners and occupiers of
buildings in which Zonolite has been installed warrants consolidation of the actions for pretrial
purposes by the Panel. The potential for inconsistent rulings by the Massachusetts, Montana and
Illinois federal courts on the significant question of class certification could be avoided by

having a single judge in a single transferee district decide that question. Moreover, the class
